Case 4:18-mc-03099 Document 1 Filed in TXSD on 11/02/18 Page 1 of 1

w%wr§m»

UNITED STATES DISTRICT COURT

Eastem District of Texas ;.,‘;U'V 52 2018
MLM|Y,CWRMC¢M
CRAlG CUNNINGHAM, Pro-se )
Plaintz`ff ) )
) CIVIL ACTION NO.:
v. ) )
Enagic et al )
Defendanrs.
Pliif R s D sti fri mn

l. To the Clerk
2. Please domesticate this judgment in your district Enclosed is a certified copy of
the judgment and a money order for $47 and return a file stamped copy to the

address below.

/'\ »’
. ) //` (
ra'xg’ umw

Plainti f`f`.

3000 Custer Road, ste 270-206 Plano, Tx 75075, 615-348-1977

